Case 12-02081   Doc 1   Filed 11/26/12   Entered 11/26/12 15:45:50   Desc Main
                           Document      Page 1 of 8
Case 12-02081   Doc 1   Filed 11/26/12   Entered 11/26/12 15:45:50   Desc Main
                           Document      Page 2 of 8
     Case 12-02081      Doc 1     Filed 11/26/12      Entered 11/26/12 15:45:50       Desc Main
                                     Document         Page 3 of 8




                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT

In re:                                                )
                                                      )        Case No.
CHARLES PAPPAS,                                       )        12-22099 (ASD)
Debtor                                                )
                                                      )        Chapter 7
                                                      )
DONNA PARRIS,                                         )
Plaintiff,                                            )
                                                      )        Adversary Proceeding No.
v.                                                    )
                                                      )
CHARLES PAPPAS,                                       )
Defendant.                                            )
                                                      )        November 26, 2012


      COMPLAINT TO DETERMINE THE NON-DISCHARGEABILITY OF A DEBT
                AND TO OBJECT TO DISCHARGE OF DEBTOR

         Plaintiff Donna Parris alleges as follows:

         1.     This is an adversary proceeding to determine the non-dischargeability of a debt

and to object to a debtor’s discharge.

         2.     The Court has jurisdiction over this proceeding under 28 U.S.C. § 1334.

         3.     This is a core proceeding under 28 U.S.C. § 157(b).

         4.     Defendant Charles Pappas is the debtor in this case (the “Debtor”), having filed a

voluntary Chapter 7 bankruptcy petition on August 29, 2012.

         5.     Plaintiff Donna Parris is a judgment-creditor of the Debtor.

         6.     Parris and the Debtor are parties to a civil rights action (the “Civil Rights Action”)

filed by Parris in the United States District Court for the District of Connecticut, in which Parris
  Case 12-02081        Doc 1     Filed 11/26/12       Entered 11/26/12 15:45:50      Desc Main
                                    Document          Page 4 of 8




alleged, among other things, that the Debtor and others violated Parris’s rights under the Fair

Housing Amendments Act, 42 U.S.C. §§ 3601 et seq. The Civil Rights Action is captioned

Parris v. Pappas, et al., 3:10CV1128(WWE).

       7.      On April 2011, prior to the Debtor’s bankruptcy filing and at the conclusion of a

two-day hearing in damages in the Civil Rights Action, the District Court ordered the Debtor to

make a disclosure of assets to Parris.

       8.      On May 5, 2011, the District Court ordered the Debtor to not dissipate any

existing assets during the pendency of the Civil Rights Action.

       9.      On May 17, 2011, the Debtor filed with the District Court an asset disclosure.

The Debtor failed to list among his disclosed assets his ownership of an apartment building

located at 44-48 Barbara Street, Providence, Rhode Island (“Barbara Street Property”). In

subsequent revisions to this asset disclosure and in response to asset discovery requests, the

Debtor continued to fail to disclose the existence of the Barbara Street Property.

       10.     On November 21, 2011, Parris moved for prejudgment relief (“PJR Motion”).

Parris sought, among other things, an order attaching the Debtor’s assets.

       11.     On December 7, 2011, the day before a scheduled hearing on the PJR Motion, the

Debtor sold the Barbara Street Property.

       12.     On January 4, 2012, the District Court (Fitzsimmons, M.J.) entered a ruling (the

“Recommended Ruling”), in which the District Court recommended that Parris be awarded

$112,407 in compensatory damages and $150,000 in punitive damages, for a total damages

award of $262,407. In its Recommended Ruling, the District Court found that the Debtor acted




                                                -2-
  Case 12-02081        Doc 1     Filed 11/26/12       Entered 11/26/12 15:45:50     Desc Main
                                    Document          Page 5 of 8




willfully, maliciously, and with reckless disregard for Parris’s civil rights. A true and correct

copy of the Recommended Ruling is attached hereto as Exhibit A and incorporated herein.

       13.     On that same day, the District Court granted Parris’s motion for attorneys’ fees in

the amount of $87,392.50 (the “First Attorney Fee Award”).

       14.     On February 2, 2012, over the Debtor’s objection, the District Court (Eginton,

D.J.) approved and adopted the Recommended Ruling in full and directed the clerk to enter

judgment in Parris’ favor in the amount of $262,407.

       15.     On February 10, 2012, over the Debtor’s objection, the District Court (Eginton,

D.J.) entered an order adopting the First Attorney Fee Award.

       16.     On February 10, 2012, the clerk entered judgment (“Judgment”) in Parris’ favor

in the amount of $262,407. A true and correct copy of the Judgment is attached hereto as Exhibit

B and incorporated herein.

       17.     On March 1, 2012, Parris filed a motion for sanctions (“Sanctions Motion”)

concerning the adequacy of the Debtor’s responses to discovery requests regarding the existence

and extent of his past and present assets.

       18.     On March 21, 2012, in a supplemental response to interrogatories inquiring about

past and present interests in property and transfers of the same, Debtor did not disclose his prior

ownership of the Barbara Street Property and stated affirmatively he had not sold any assets.

       19.     On March 27, 2012, during a hearing concerning the Sanctions Motion, the

Debtor admitted that he had owned the Barbara Street Property, had recently sold it, and had

never previously disclosed his ownership of that property to Parris or the District Court.




                                                -3-
  Case 12-02081        Doc 1      Filed 11/26/12       Entered 11/26/12 15:45:50      Desc Main
                                     Document          Page 6 of 8




        20.     On August 6, 2012, in connection with the Sanctions Motion, the District Court

ruled that Parris was entitled to attorneys’ fees not previously awarded, in connection with her

counsel’s efforts to obtain a complete disclosure of assets, to prevent the dissipation of assets,

and in post-judgment discovery (the “Second Attorney Fee Award”). The District Court ordered

that Parris’s counsel submit affidavits detailing the time spent on such efforts by September 1,

2012, and thereafter move for additional fees and costs every six months until collection on the

Judgment was complete. Before Parris’ counsel could file the affidavits as ordered, the Debtor

filed his bankruptcy petition.

        21.     On August 10, 2012, during a judgment debtor’s examination, the Debtor refused

to answer any questions regarding the Barbara Street Property, invoking the Fifth Amendment to

the United States Constitution.

        FIRST COUNT: NON-DISCHARGEABILITY UNDER 11 U.S.C. § 523(a)(6)

        22.     Parris restates the allegations in paragraphs 1 through 21 of this complaint as if set

forth fully herein.

        23.     At present, the Debtor’s debt (the “Debt”) to Parris is wholly unpaid and includes,

but is not limited to, $262,407 associated with the Judgment, $87,392 associated with the First

Attorney Fee Award, statutory interest, and unliquidated sums associated with the Second

Attorney Fee Award.

        24.     Under 11 U.S.C. § 523(a)(6), discharge is not available for an individual debtor

for any debt “for willful and malicious injury by the debtor to another entity or to the property of

another entity.”




                                                 -4-
  Case 12-02081        Doc 1     Filed 11/26/12        Entered 11/26/12 15:45:50      Desc Main
                                    Document           Page 7 of 8




        25.     The Debt is not subject to discharge because it represents a judgment debt

incurred against the Debtor for willful and malicious injury to Parris, and, is non-dischargeable

under 11 U.S.C. § 523(a)(6).

        SECOND COUNT: NON-DISCHARGEABILITY UNDER 11 U.S.C. § 727(a)(2)

        26.     Parris restates the allegations in paragraphs 1 through 21 of this complaint as if set

forth fully herein.

        27.     Under 11 U.S.C. § 727(a)(2), discharge is not available to a debtor who transfers

or conceals his or her property with intent to hinder, delay, or defraud a creditor, within one year

before the date of the filing of the debtor’s bankruptcy petition.

        28.     Discharge is not available to the Debtor because, with intent to hinder, delay, or

defraud creditors, the Debtor hid the existence of, and transferred, the Barbara Street Property

within one year of the filing of his bankruptcy petition.




                                                 -5-
  Case 12-02081        Doc 1     Filed 11/26/12        Entered 11/26/12 15:45:50      Desc Main
                                    Document           Page 8 of 8




                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Donna Parris prays that this Court enter a judgment (i) finding

the Debt non-dischargeable, (ii) denying Debtor’s discharge, and (iii) granting such other and

further relief that this Court deems just, including additional reasonable costs and attorneys’ fees.



                                              DONNA PARRIS, PLAINTIFF



                                              By:       /s/ Michael J. Coolican
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